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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                     V.                                  Magistrate's No. 19-1380

 MUSTAF A ALOWEMER


                                              ORDER


       AND NOW, to wit, this ~day of June, 2019, it appearing to the Court that an Arrest

Warrant for the above-captioned individual has been executed, and upon the representation of the

United States Attorney's Office that there is no further necessity that the Complaint, Arrest Warrant

and Affidavit remain sealed,

       IT IS HEREBY ORDERED that the Complaint, Arrest Warrant and Affidavit filed at the

above number and sealed on June 18, 2019, be unsealed.




                                                                                        JUDGE
